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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NORMAN WANG,                                      )
                                                  )
                Plaintiff,                        ) 2:20-cv-1952
                                                  )
        vs.                                       ) District Judge Marilyn J. Horan
                                                  )
UNIVERSITY OF PITTSBURGH,                         )
UNIVERSITY OF PITTSBURGH                          )
MEDICAL CENTER, SAMIR SABA,                       )
MARK GLADWIN, and KATHRYN                         )
BERLACHER,                                        )
                                                  )
                                                  )
                Defendants.                       )

                                              ORDER

        AND NOW, on this 22nd day of August 2023, upon consideration of Defendant

University of Pittsburgh’s Motion to Dismiss and Brief in Support, (ECF Nos. 165 & 166), Dr.

Wang’s Response, (ECF No. 168), and the University’s Reply, (ECF No. 169), it is hereby

ordered that the University of Pittsburgh’s Motion to Dismiss is denied in part and granted in

part.

        The University of Pittsburgh’s Motion to Dismiss is denied as to Dr. Wang’s Title VII

and PHRA retaliation claims in regard to his July 31, 2020 statements made to Drs. Saba and

Berlacher.

        The University of Pittsburgh’s Motion to Dismiss is granted as to Dr. Wang’s Title VII

and PHRA retaliation claims in regard to the statements made within Dr. Wang’s JAHA article.

Dr. Wang is not granted leave to amend his Title VII and PHRA retaliation claims in regard to

the statements made within his JAHA article. The University of Pittsburgh is directed to file an
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Answer to Dr. Wang’s Fourth Amended Complaint by September 5, 2023.




                                                     __________________________
                                                     Marilyn J. Horan
                                                     United States District Judge
